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                                          February 9, 2021

      VIA ECF
      The Honorable Becky R. Thorson
      United States District Court
      316 N. Robert Street
      St. Paul, MN 55101

             RE:    Krautkramer et al. v. Yamaha Motor Corporation, U.S.A., Inc.
                    Case No. 19-cv-2559 (DWF/BRT)

      Dear Judge Thorson:

             I write regarding the upcoming settlement conference in the above-referenced
      matter. During the parties’ meet and confer process, we discussed the logistics of the
      settlement conference.

             The parties hereby jointly request that the counsel remain present via video
      conference and that the respective clients remain available by telephone and email as
      needed throughout the conference. The parties believe this arrangement will facilitate
      efficient communications while reducing the burden on all of the clients. Please advise if
      this proposal is acceptable to the Court.

                                                   Sincerely,
                                                   GUSTAFSON GLUEK PLLC




                                                   David A. Goodwin
      DAG/cmn
